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   7
   8                              UNITED STATES DISTRICT COURT
   9            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 DAVID JAVDAN,                               Case No. 2:19-cv-10832-GW-JC
 12                      Plaintiff,
                                                DEFENDANT CITIBANK, N.A.’S
 13             vs.                             CORRECTED NOTICE OF
                                                MOTION AND MOTION FOR AN
 14 CITIBANK, N.A., CITIGROUP, INC.,            ORDER COMPELLING
    AND DOES 1-20,                              ARBITRATION AND STAYING
 15                                             ACTION; MEMORANDUM OF
             Defendants.                        POINTS AND AUTHORITIES
 16
 17                                             [Declarations of Armita Rohani and
                                                Tricia L. Legittino filed concurrently
 18                                             herein]
 19
                                                Date: March 12, 2020
 20                                             Time: 8:30 A.M.
                                                Crtm: 9D
 21
 22
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 28
       FKKS:2513634v.1
         DEFENDANT CITIBANK, N.A.’S CORRECTED NOTICE OF MOTION AND MOTION FOR AN ORDER
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   1                          NOTICE OF MOTION AND MOTION
   2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   3            PLEASE TAKE NOTICE that on March 12, 2020 at 8:30 a.m., or as soon
   4 thereafter as the matter may be heard, in Courtroom 9D by the Honorable George H.
   5 Wu of the United States District Court for the Central District of California, located
   6 at 350 West 1st Street, Los Angeles, CA 90012, defendant Citibank, N.A.
   7 (hereinafter “Citibank” or “Bank”) will and hereby does move this Court for an
   8 Order providing that this matter be ordered to arbitration before JAMS with respect
   9 to all claims plaintiff David Javdan (“Plaintiff”) has asserted against Citibank in the
 10 within action pursuant to their agreements to arbitrate and that this Court retain
 11 jurisdiction to enter judgment based on the award of the arbitrator and that the
 12 within action otherwise be stayed pending the conclusion of the arbitration.
 13             This motion is based upon this notice, the attached memorandum of points
 14 and authorities, the declarations of Armita Rohani and Tricia L. Legittino filed
 15 concurrently herein and all exhibits attached thereto, the Complaint, and upon all
 16 other pleadings, evidence and argument as may be presented at or before the time of
 17 the hearing on the motion.
 18             Counsel for Citibank met and conferred with counsel for Plaintiff on January
 19 29, 2020, before filing this motion, in accordance with Local Rule 7-3.
 20
 21 DATED: February 12, 2020                 FRANKFURT KURNIT KLEIN + SELZ PC
 22
 23
                                             By: /s/ Tricia L. Legittino
 24
                                                 Tricia L. Legittino
 25                                              Matthew Samet
 26                                              Attorneys for CITIBANK, N.A.

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   1                     MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.         INTRODUCTION
   3            Citibank respectfully moves the Court for an order compelling arbitration of
   4 the Complaint against it pursuant to the Safe Deposit Box Rental Agreement (the
   5 “Agreement”) between it and Plaintiff, and staying this action pending completion
   6 of the arbitration.1 Counsel for Citibank met and conferred with counsel for
   7 Plaintiff on January 29, 2020, before filing this motion, in accordance with Local
   8 Rule 7-3. (Declaration of Tricia L. Legittino filed concurrently herein ¶ 2).
   9            Plaintiff is a successful cosmetic and restorative dentist who owns and
 10 operates his own dental practice in Beverly Hills, California. Every one of
 11 Plaintiff’s claims against Citibank in the Complaint derives from his rental of a safe
 12 deposit box at Citibank’s branch located at 9401 Wilshire Blvd., Beverly Hills,
 13 California. On the day he rented his safe deposit box, Plaintiff was provided with
 14 the Agreement. Also, on the day he rented the safe deposit box, Plaintiff signed a
 15 Safe Deposit Box Signature Card (“Access Card”) in which he specifically agreed to
 16 be bound by all terms of the Agreement. Accordingly, Citibank respectfully brings
 17 this motion to compel Plaintiff to arbitrate his claims against it and to stay this
 18 lawsuit pending completion of the arbitration.
 19 II.         STATEMENT OF FACTS
 20             A.       Summary of Allegations of the Complaint
 21             Plaintiff alleges, in part, that beginning in 2017 and at all relevant times he
 22 rented a safe deposit box number Z000133 (“Box 133”) at Citibank’s branch located
 23 at 9401 Wilshire Blvd., Beverly Hills, California 90212 (the “Branch”).2 (Compl.
 24
       1
 25     Pursuant to 9 U.S.C. §§ 3-4, 6, Citibank is filing this Motion to Compel Arbitration
       and Stay the Action.
 26    2
     Plaintiff claims that he rented Box 133 in 2017 (Compl. ¶ 11), even though his
 27 Access Card contains his signature from 2016 (Declaration of Armita Rohani filed
 28
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   1 ¶ 11.) In order to rent Box 133, Plaintiff was required to sign the Agreement, which
   2 laid out the terms and conditions of his rental of Box 133. (Id.) Plaintiff claims that
   3 he used Box 133 to store “family jewelry, family heirlooms, sentimental items
   4 related to baby’s birth, videotape/professional recordings of significant events, and
   5 other personal and extremely valuable items.” (Id. ¶ 12.)
   6        According to the Complaint, “in or about January 2018” Plaintiff was unable
   7 to access Box 133 using the same keys that he had always used to open it. (Id.
   8 ¶ 13.) Over the course of the next 15 months, Plaintiff claims that each of his
   9 several attempts to access Box 133 with the keys provided to him by Citibank were
 10 unsuccessful. (Id. ¶¶ 14-18.) During this time period Plaintiff claims that despite
 11 his request to various Citibank employees for a “solution,” they did not perform a
 12 “re-keying, lock cutting, or other access-enabling solution” but, instead, kept giving
 13 him assurances that “all contents were intact and safe” in Box 133. (Id.)
 14         The Complaint further alleges that on April 18, 2019, a locksmith drilled Box
 15 133 in the presence of Plaintiff and two Citibank employees, however when it was
 16 opened, Box 133 was empty. (Id. ¶¶ 19-20.) According to Plaintiff, on the same
 17 day he was notified by Citibank employees that there “is another safe deposit box
 18 numbered ‘133’ . . . and the contents of Plaintiff’s safe deposit box were probably”
 19 moved into that box due to “reorganization of the branch.” (Id. ¶ 21.) However,
 20 when the second box “133” was drilled on May 3, 2019, the contents of that box did
 21 not belong to Plaintiff. (Id. ¶ 26.) Over the course of the next several months,
 22 Plaintiff claims that he was told that a request for an investigation would be
 23 submitted, that his items “had to be somewhere…and that [they]would be located,”
 24 Citibank employees examined keys he had for “other/old safe deposit boxes,” and
 25
    concurrently herein (“Rohani Decl.”) ¶ 8, Ex. 2). Nevertheless, the 2017 Safe
 26 Deposit Box Rental Agreement (id. ¶ 10, Ex. 3) contains the same arbitration
 27 provisions as the 2016 Safe Deposit Box Rental Agreement (id. ¶ 8, Ex. 1) so
    whenever Plaintiff began renting Box 133 is immaterial for purposes of this Motion.
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   1 that he was denied any status updates as well as copies of the Agreement or his
   2 Access Card. (Id. ¶¶ 27-29.)
   3            Based on these allegations, Plaintiff alleges claims against Citibank for
   4 Breach of Contract (id. ¶¶ 31-39); Conversion (id. ¶¶ 40-45); Negligence (id. ¶¶ 46-
   5 49); Negligent Infliction of Emotional Distress (id. ¶¶ 50-54); Intentional Infliction
   6 of Emotional Distress (id. ¶¶ 55-59); Negligence Per Se (id. ¶¶ 60-63); Violation of
   7 California Business & Professions Code Section 17200 (id. ¶¶ 64-69); Breach of
   8 Fiduciary Duty (id. ¶¶ 70-74); and Negligent Hiring and Retention (id. ¶¶ 75-81).
   9            B.       The Rental Agreement and the Access Card.
 10             According to the Declaration of Armita Rohani, Manager of the Branch at the
 11 time Plaintiff rented his safe deposit box and currently, Plaintiff was provided both
 12 an Agreement and an Access Card at the time he rented Box 133. (See Rohani Decl.
 13 ¶¶ 1, 6, 8-9.)
 14             By signing the Access Card, Plaintiff agreed to be bound by the terms of the
 15 Agreement, in the following language in bold, which appears directly above his
 16 signature:
 17                      By signing below, you acknowledge that 2 keys to the box
                         have been issued, and that you received a copy of the Safe
 18                      Deposit Box Rental Agreement. You expressly agree that
                         the rental of the safe deposit box, and the rights and duties
 19                      of both you and Citibank, will be governed by the terms
                         and conditions of that agreement. You agree that if there is
 20                      a dispute between us resulting from the rental of this safe
                         deposit box and you are unable to produce a copy of the
 21                      rental agreement provided to you, Citibank may introduce
                         evidence as to these applicable terms and conditions
 22                      through the issue of internal bank records and need not
                         produce a signed copy of your specific agreement.
 23
 24             As set forth in the Rohani Decl., it was Citibank’s custom and practice in
 25 2016 that every time a customer rented a safe deposit box, he or she was provided
 26 with a copy of the then-current Safe Deposit Box Rental Agreement and Plaintiff
 27 was no different. (Rohani Decl. ¶¶ 6-8.) The Agreement that was in effect in July
 28
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   1 2016 when the Plaintiff rented Box 133 (id. ¶¶ 8-9) is attached as Exhibit 1 to the
   2 Rohani Decl. and the arbitration provisions contained in it provide, in part:
   3
                         Resolution by Arbitration-THIS SECTION
   4                     CONTAINS IMPORTANT INFORMATION FOR
                         CLIENTS APPLYING FOR A SAFE DEPOSIT BOX
   5                     RENTAL AGREEMENT ON OR AFTER AUGUST 1,
                         200. IT PROVIDES THAT EITHER YOU OR WE
   6                     CAN REQUIRE THAT ANY DISPUTES BE
                         RESOLVED BY BINDING ARBITRATION.
   7                     ARBITRATION REPLACES THE RIGHT TO GO
                         TO COURT, INCLUDING THE RIGHT TO
   8                     PARTICIPATE IN A CLASS ACTION OR SIMILAR
                         PROCEEDING. IN ARBITRATION, THE DISPUTE
   9                     IS SUBMITTED TO A NEUTRAL PARTY, AN
                         ARBITRATOR, INSTEAD OF A JUDGE OR JURY.
 10                      ARBITRATION PROCEDURES ARE SIMPLER
                         AND MORE LIMITED THAN RULES APPLICABLE
 11                      N COURT. THE DECISION OF THE ARBITRATOR
                         IS FINAL AND BINDING. [Emphasis in original.]
 12
                                                   ***
 13
                         Agreement to Arbitrate Disputes. You agree that by
 14                      renting a safe deposit box with us on or after August 1,
                         2001, either you or we may elect to require that any
 15                      dispute between us or concerning you other Safe
                         Deposit Box Agreements…except those disputes
 16                      specifically excluded below, be resolved by binding
                         arbitration. [Emphasis in original.]
 17
                                                   ***
 18
                         Disputes Covered by Arbitration. If you rent a Safe
 19                      Deposit Box from us on or after August 1, 2001, any claim
                         relating to or arising out of that rental agreement, and any
 20                      unresolved claim relating to any existing or prior rental
                         agreement…will be subject to arbitration. Disputes include
 21                      any unresolved claims concerning any services related to
                         such rental agreement or account, including, without
 22                      limitation, safe deposit box services….Disputes include
                         not only claims made directly by you, but also made by
 23                      anyone connected with you or claiming through you, such
                         as a co-renter….Disputes include not only claims that
 24                      relate directly to Citibank, but also its parents, affiliates,
                         successors, assignees, employees, and argents, and claims
 25                      for which we may be directly or indirectly liable, even if
                         we are not properly named at the time the claims is made.
 26                      Disputes include claims based on any theory of law,
                         contract, statute, regulations, tort (including fraud or
 27                      intention tort), or any other legal or equitable ground, and
                         include claims asserted as counterclaims, cross-claims,
 28
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   1                     third-party claims, interpleaders, or otherwise. Disputes
                         include claims made as part of a class action or other
   2                     representative action, it being expressly understood and
                         agreed to that the arbitration of such claims must proceed
   3                     on an individual (non-class, non-representative) basis.
                         Disputes also include claims relating to the enforceability
   4                     or interpretation of any of these arbitration provisions.
   5                                                ***
   6                     Disputes Excluded from Arbitration. Disputes filed by you
                         or by us individually in a small claims court are not
   7                     subject to arbitration, so long as any such dispute remains
                         in such court and advances only an individual claim for
   8                     relief.
   9                                                ***
  10                     Commencing an Arbitration. The arbitration must be filed
                         with one of the following neutral arbitration forums:
  11                     American Arbitration Association; National Arbitration
                         Forum; or JAMS….The arbitration shall be conducted in
  12                     the same city as the U.S. District Court closest to your
                         home address, unless the parties agree to a different
  13                     location.
  14                                                ***
  15                     Costs. The party initiating the arbitration shall pay the
                         initial filing fee. If you file the arbitration and an award is
  16                     rendered in your favor, we will reimburse you for your
                         filing fee. If there is a hearing, we will pay the fees and
  17                     costs for the first day of that hearing…..All other fees and
                         costs will be allocated in accordance with the rules of the
  18                     arbitration forum. However, we will advance or reimburse
                         the filing fees if the arbitrator rules that you cannot afford
  19                     to pay them or finds other good cause for requiring us to
                         do so. Each party shall bear the costs of their respective
  20                     attorneys, experts, and witnesses and other expenses,
                         regardless of who prevails except to the extent the
  21                     arbitrator assesses costs of the arbitration to either you or
                         us.
  22
                                                    ***
  23
                         Governing Law. You and we agree that our relationship
  24                     includes transactions involved interstate commerce and
                         that these arbitration provisions are governed by, and
  25                     enforceable under, the Federal Arbitration Act. To the
                         extent state law is applicable, the laws of the state
  26                     governing your account relationship apply.
  27
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   1            According to Citibank’s internal records, Box 133 is actually the fifth safe
   2 deposit box that Plaintiff has rented at Citibank. Thus, according to the Rohani
   3 Decl., pursuant to Citibank’s custom and practice, Plaintiff would have been
   4 provided a Safe Deposit Box Rental Agreement on each of these four prior
   5 occasions, all of which contained the exact same arbitration provision as is at issue
   6 here. (Id. ¶ 11.)
   7 III.       ARGUMENT
   8            A.       The Court Should Compel Arbitration of Plaintiff’s Claims
   9                     Pursuant to the Federal Arbitration Act.
  10            If a lawsuit is already pending on a claim that is otherwise subject to
  11 arbitration, as is the case here, an order compelling arbitration may be obtained by
  12 either petition or motion, and an order staying the pending action may be granted
  13 concurrently therewith. 9 U.S.C. §§ 1-6. The arbitration agreement at issue here
  14 specifically says that it is governed by the Federal Arbitration Act (“FAA”). (See
  15 Rohani Decl. ¶ 9, Ex. 1 at 4.) The FAA provides that “[a] written provision in . . . a
  16 contract evidencing a transaction involving commerce to settle by arbitration a
  17 controversy thereafter arising out of such contract or transaction, or the refusal to
  18 perform the whole or any part thereof . . . shall be valid, irrevocable, and
  19 enforceable, save upon such grounds as exist at law or in equity for the revocation of
  20 any contract.” 9 U.S.C. § 2; see also Southland Corp. v. Keating, 465 U.S. 1, 10
  21 (1984) (“Congress has thus mandated the enforcement of arbitration agreements.”).
  22            The FAA embodies a strong federal policy favoring arbitration. Keating, 465
  23 U.S. at 10; accord Armendariz v. Found. of Health Psychcare Servs., 24 Cal. 4th 83,
  24 97 (2000) (“California law, like federal law, favors enforcement of valid arbitration
  25 agreements.”). The FAA prevails, under the Supremacy Clause in the United States
  26 Constitution, over conflicting state arbitration requirements regarding claims within
  27 the coverage of the FAA. Keating, 465 U.S. at 12. The FAA preempts state laws
  28
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   1 precluding or restricting arbitration of those claims or any other conflicting state
   2 arbitration requirements. Id.
   3            In ruling on a petition to compel arbitration, this Court is required to make a
   4 finding only of the arbitration agreement’s existence, not an evidentiary
   5 determination of its validity. Sherman v. CLP Res., Inc., No. CV 12-8080-
   6 GW(PLAx), 2015 WL 13542760, at *4 (C.D. Cal. June 22, 2015) (Wu, J.) (citing
   7 Condee v. Longwood Mgmt. Corp., 88 Cal. App. 4th 215, 218-219 (2001)
   8 (“Petitioner need only allege the existence of an agreement” and “must attach a copy
   9 of the agreement to the petition, or its provisions shall be set forth in the petition”).
  10            Here, Plaintiff and Citibank unequivocally agreed to submit any and all
  11 claims or disputes relating to or arising out of Plaintiff’s rental of Box 133, whether
  12 based on contract, tort or otherwise, to binding arbitration in accordance with the
  13 FAA. (See Rohani Decl. ¶ 11.) A review of the Complaint shows that Plaintiff’s
  14 claims on their face relate to and arise out of his rental of Box 133. Accordingly,
  15 the Court should compel arbitration of the Complaint. 9 U.S.C. § 4 (where there is a
  16 written agreement to arbitrate and a party refuses a request to arbitrate, the Court
  17 may compel arbitration on petition of the other party).
  18            Plaintiff cannot feign ignorance of the fact that he agreed to resolve any and
  19 all disputes with Citibank pursuant to FAA arbitration because Plaintiff had rented
  20 four safe deposit boxes from Citibank before Box 133. (See Rohani Decl. ¶ 11.)
  21 Accordingly, Plaintiff must have received four agreements designating binding
  22 arbitration under the FAA. Furthermore, every time he signed his Access Card, he
  23 signed a statement asserting that, in bold, he “acknowledge[d] . . . receiv[ing] a copy
  24 of the Safe Deposit Box Rental Agreement.” (Id. Ex. 2.) There is no question that
  25 Plaintiff agreed to FAA arbitration.
  26            The California Supreme Court has held that when the parties agree that
  27 proceedings will be governed by the FAA, that agreement is binding. Cronus Invs.,
  28
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   1 Inc. v. Concierge Servs., 35 Cal. 4th 376, 394 (2005). Federal courts agree. See
   2 Williams v. Eaze Solutions, Inc., __ F. Supp. 3d __, 2019 WL 5312956, at *2 (N.D.
   3 Cal. Oct. 21, 2019) (“It is the specific provision [of the agreement] designating the
   4 FAA that governs arbitration.”); SST Millennium LLC v. Mission St. Dev., No. 18-
   5 cv-06681-YGR, 2019 WL 2342277, at *3 & n.4 (N.D. Cal. June 3, 2019)
   6 (compelling arbitration where agreement stated that the FAA “will govern the
   7 interpretation and enforcement of the arbitration provisions”). The California Court
   8 of Appeal applied this same rule to a similar arbitration provision in Rodriguez v.
   9 Am. Techs., Inc., 136 Cal. App. 4th 1110, 1112 (2006). The Court of Appeal
  10 reversed denial of arbitration because there were other claims not subject to the
  11 arbitration agreement. The same result is required here. Every one of Plaintiff’s
  12 claims for relief are governed by arbitration under the FAA, so there is no reason not
  13 to compel arbitration.
  14            B.       The Court Should Stay This Action Pending the Arbitration.
  15            Citibank also requests that the Court stay this action pending the completion
  16 of the arbitration pursuant to the FAA. In this regard, 9 U.S.C. § 3 provides:
  17                     If any suit or proceeding be brought in any of the courts
                         of the United States upon any issue referable to
  18
                         arbitration under an agreement in writing for such
  19                     arbitration, the court in which such suit is pending, upon
                         being satisfied that the issue involved in such suit or
  20
                         proceeding is referable to arbitration under such an
  21                     agreement, shall on application of one of the parties stay
                         the trial of the action until such arbitration has been had
  22
                         in accordance with the terms of the agreement, providing
  23                     the applicant for the stay is not in default in proceeding
                         with such arbitration.
  24
  25 Accord Cal. Civ. Proc. Code § 1281.4 (where arbitration has been ordered, court,
  26 upon motion, shall stay action pending arbitration).
  27
  28
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   1 IV.        CONCLUSION
   2            By this Motion, Citibank demands that Plaintiff voluntarily agree to submit
   3 his claims to arbitration. In the absence of such voluntary agreement, Citibank
   4 seeks to have this Court issue its order directing arbitration pursuant to the
   5 arbitration agreement between the parties, and staying this action pending a
   6 resolution of the arbitration proceeding, retaining jurisdiction to confirm any award
   7 obtained in the arbitration.
   8
   9 DATED: February 12, 2020                Respectfully submitted,
  10
                                             FRANKFURT KURNIT KLEIN + SELZ PC
  11
  12
  13                                         By: /s/ Tricia L. Legittino
                                                 Tricia L. Legittino
  14
                                                 Matthew Samet
  15                                             Attorneys for CITIBANK, N.A.
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       FKKS:2513634v.1                             9
         DEFENDANT CITIBANK, N.A.’S CORRECTED NOTICE OF MOTION AND MOTION FOR AN ORDER
       COMPELLING ARBITRATION AND STAYING ACTION; MEMORANDUM OF POINTS AND AUTHORITIES
